Case 2:20-cv-03890-ODW-JEM Document 29 Filed 05/22/20 Page 1 of 4 Page ID #:85



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 10    Attorneys for Defendant FEDERAL
       INSURANCE COMPANY
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 12
                         UNITED STATES DISTRICT COURT
 13
                       CENTRAL DISTRICT OF CALIFORNIA
 14
       SIMON WIESENTHAL CENTER,                Case No. 2:20-cv-03890-ODW-JEM
 15    INC. and MORIAH FILMS,
 16                     Plaintiffs,            DEFENDANT’S NOTICE OF
 17         v.                                 MOTION AND MOTION TO
                                               DISMISS PURSUANT TO
 18    CHUBB GROUP OF INSURANCE                FEDERAL RULES OF CIVIL
       COMPANIES/FEDERAL                       PROCEDURE 12(b)(6) AND 12
 19    INSURANCE COMPANY,                      12(b)(1)
 20                     Defendant.            Accompanying Documents:
                                              Memorandum of Points and
 21                                           Authorities; Declaration of Scott
                                              Shearer; Request for Judicial Notice;
 22                                           Proposed Order
 23                                           Date: June 22, 2020
                                              Time: 1:30 p.m.
 24                                           Judge: Otis D. Wright II
                                              Courtroom: 5D
 25
                                              Complaint filed:   April 29, 2020
 26
 27
 28

                     DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS
Case 2:20-cv-03890-ODW-JEM Document 29 Filed 05/22/20 Page 2 of 4 Page ID #:86



   1          TO THE HONORABLE COURT, THE PARTIES, AND THEIR
   2   ATTORNEYS OF RECORD:
   3          PLEASE TAKE NOTICE that, on June 22, 2020 at 1:30 p.m., or as soon
   4   thereafter as the matter may be heard, in Room 5D of the above-entitled court
   5   located at 350 W. First Street, Los Angeles, CA 90012, Defendant Federal
   6   Insurance Company1 (“Federal”) will and hereby does move this Court for an order
   7   dismissing the Complaint filed by the Simon Wiesenthal Center, Inc. and Moriah
   8   Films (“Plaintiffs”), without leave to amend, pursuant to Federal Rules of Civil
   9   Procedure 12(b)(6) and 12(b)(1).2
 10           The Complaint should be dismissed pursuant to Federal Rule of Civil
 11    Procedure 12(b)(6) because the Complaint fails to state a claim upon which relief
 12    can be granted because:
 13            Plaintiffs have not alleged any direct physical loss or damage to other
 14               property within one mile of the insured premises, as required to trigger
 15               civil authority coverage under the insurance policy issued by Federal (the
 16               “Federal Policy”);
 17            Plaintiffs have not alleged that the March 19, 2020 Safer at Home Order
 18               by Los Angeles Mayor Eric Garcetti (the “Garcetti Order”) prohibited
 19               access to the insured premises, as required to trigger civil authority
 20               coverage under the Federal Policy; and
 21            Plaintiffs have not alleged that the Garcetti Order was issued as the “direct
 22               result of direct physical loss or damage” to other property within one mile
 23               of the insured premises, as required to trigger civil authority coverage
 24    1
         Defendant Federal Insurance Company has been incorrectly named as Chubb Group of
       Insurance Companies/Federal Insurance Company.
 25
       2
         Pursuant to 28 U.S.C. section 1407, certain plaintiffs have filed motions to transfer and
 26    coordinate or consolidate several actions that “seek a finding that [] Governmental Orders
       triggered coverage under the plaintiffs’ business interruption insurance policies.” (MDL No.
 27
       2942.) Federal disputes that the standards for transfer under 28 U.S.C. section 1407 are satisfied
 28    and that a multi-district litigation should be created, but wishes to advise the Court of the pending
       motions.
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                          DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS
Case 2:20-cv-03890-ODW-JEM Document 29 Filed 05/22/20 Page 3 of 4 Page ID #:87



   1              under the Federal Policy.
   2          Additionally, Plaintiffs’ requests for declarations that the Federal Policy
   3   “provides coverage to Plaintiffs for any . . . future civil authority closures of its
   4   Insured Premises due to physical loss or damage from the coronavirus under the
   5   Civil Authority coverage parameters”3 and “provides business income coverage in
   6   the event that coronavirus has caused a loss or damage at the Insured Premises or
   7   immediate area of the Insured Premises” are dependent on contingent and
   8   hypothetical events not ripe for adjudication. Therefore, Plaintiffs’ requests for
   9   these declarations should be dismissed pursuant to Federal Rule of Civil Procedure
 10    12(b)(1) because the Court lacks subject matter jurisdiction and pursuant to Federal
 11    Rule of Civil Procedure 12(b)(6) because these requests fail to state a claim upon
 12    which relief can be granted.
 13           Because it will be impossible for Plaintiffs to cure the deficiencies in the
 14    Complaint by alleging other facts consistent with the challenged pleadings,
 15    Federal’s motion to dismiss should be granted without leave to amend.
 16           Pursuant to Local Rule 7-3, counsel for Defendant met-and-conferred by
 17    sending a letter on May 14, 2020 to counsel for Plaintiffs. The letter explained in
 18    detail the grounds for the motion and offered to discuss any of the issues raised by
 19    the motion.
 20           This motion is based on this Notice of Motion and Motion, the Memorandum
 21    of Points and Authorities in support thereof, the accompanying Declaration of Scott
 22    Shearer and the exhibit thereto, the accompanying Request for Judicial Notice and
 23    the exhibits thereto, the accompanying Proposed Order, the pleadings and records
 24    on file in this action, and such further evidence and argument that may be presented
 25    at the hearing on this motion.
 26
 27    3
         Plaintiffs also seek a declaration based on “current” civil authority closures, but the only order
 28    alleged in the Complaint is the Garcetti Order. For reasons discussed previously, Plaintiffs fail to
       state a claim under Rule 12(b)(6) based on the Garcetti Order.
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                          DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS
Case 2:20-cv-03890-ODW-JEM Document 29 Filed 05/22/20 Page 4 of 4 Page ID #:88



   1
       Dated: May 22, 2020                     O’MELVENY & MYERS LLP
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   4
   5                                           By: /s/ Daniel M. Petrocelli
                                                   Daniel M. Petrocelli
   6
   7                                           Attorneys for Defendant
                                               FEDERAL INSURANCE COMPANY
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                     DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS
